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   EXHIBIT 1
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From:               Gregory Jordan
To:                 Karen Warren
Cc:                 Thomas J. Gagliardo; Stephen Stern; Shannon Hayden
Subject:            DAVID BOSHEA v Compass Marketing RE: Pretrial conference , March 26, 2025 - Boshea v. Compass Marketing,
                    Inc., Civil No. ELH-21-0309
Date:               Thursday, April 3, 2025 10:39:49 AM
Attachments:        image001.png
                    image002.png


I appeared today with David Boshea’s estate counsel to obtain the appointment of Ashley Boshea as
independent administrator for David Boshea’s estate. The Court indicated it would enter the order until
Compass’ attorney raised technical objections to block Ashley Boshea’s appointment. As a result, the Court
denied the application, gave leave to amend any technical issues, and set a hearing on June 17, 2025 for the
appointment and any objections.

Given this fact, the trial clearly cannot proceed on April 21. Please let me know if the Court wishes to proceed
with the pretrial hearing tomorrow.

Gregory J. Jordan
Licensed in Illinois and Indiana
PLEASE NOTE OUR NEW SUITE ADDRESS
Jordan & Zito LLC
350 North LaSalle Street, Suite 700
Chicago Illinois 60654
(312) 854-7181 (Office)
(312) 543-7354 (Cellular)
gjordan@jz-llc.com




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Jordan & Zito LLC


From: Karen Warren <Karen_Warren@mdd.uscourts.gov>
Sent: Tuesday, March 25, 2025 2:42 PM
To: Shannon Hayden <hayden@kaganstern.com>; Tom Gagliardo <tgagliardo@gelawyer.com>
